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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:23-cv-02772- GPG-MDB

   THE ESTATE OF JAY PHILIP PRITCHARD, by and through its personal representative Nola
   Mawhinney,

            Plaintiff(s),

   v.

   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF PUEBLO, COLORADO
   DAVID J. LUCERO, SHERIFF OF PUEBLO COUNTY, in his official capacity
   WELLINGTON DUPLESSIS, in his individual capacity;
   ANDREW WARD, in his individual capacity;
   NAPHCARE, INC., an Alabama Corporation;
   STACY VALDEZ, in her individual capacity;
   TAMMY LABORDE, in her capacity;
   ACASHA KERR, in her individual capacity.

            Defendant(s).


      UNOPPOSED MOTION FOR DISMISSAL OF DEFENDANT DEPUTY ANDREW
                                       WARD
   ______________________________________________________________________

            Plaintiff Estate of Jay Philip Pritchard, through its Personal Representative Nola

   Mawhinney, respectfully submits Unopposed Motion for Dismissal of Defendant Deputy Andrew

   Ward. As grounds, parties state as follows:

   Certification: All counsel for the parties conferred regarding the requested relief and there is no

   objection regarding the same.

            Plaintiff requests that the Court dismiss all claims by and relating to Plaintiff as against

   Defendant Deputy Andrew Ward, without prejudice, with each party to bear their own fees and

   costs.
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   Respectfully submitted this 28th day of July, 2024.


                                                s/ Phillip A. Geigle
                                                Phillip A. Geigle
                                                Attorney for Plaintiff
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                                           Certificate of Service
      I hereby certify that on this 28th day of July, 2024, I electronically filed the foregoing with
      the Clerk of Court using the CM/ECF system which will send notification of such filing to
      the following e-mail addresses:

      Zachary Williams
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      Attorney for NaphCare Defendants

      Ann B. Smith
      asmith@vaughandemuro.com
      Attorney for County Defendants

      Nola Mawhinney, Personal Representative of The Estate of Jay Pritchard

                                                                s/ Phillip A. Geigle
                                                                Phillip A. Geigle
